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        EXHIBIT E
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                                                     Privacy Policy
                                                          last updated June 16, 2022


             This Privacy Policy explains how Calm.com, Inc. ("Calm", "we" or "us") collects, uses,
             and discloses information about you when you access or use our websites, mobile
             application, and other online products and services (collectively, the "Services"), and
             when you contact our customer service team, engage with us on social media, or
             otherwise interact with us. This policy does not apply to subscription eligibility
             information we receive from and process on behalf of our enterprise business
             customers and partners (defined as "Customer Data" in the applicable agreement),
             but this Privacy Policy does apply to your use of the Services, regardless of your
             subscription or account type. Additional information for individuals in the EEA, UK,
             and Switzerland, as well as for California residents, can be found at the end of this
             Privacy Policy.

             We may change this Privacy Policy from time to time. If we make changes, we will
             notify you by revising the date at the top of the policy and, in some cases, we may
             provide you with additional notice (such as adding a statement to our website
             homepage or sending you a notification). We encourage you to review the Privacy
             Policy whenever you access the Services or otherwise interact with us to stay
             informed about our information practices and the choices available to you.


             Collection of Information
             Information You Provide to Us

          We collect information when you register for an account, participate in interactive
          features (like by submitting a meditation rating or completing a check-in), fill out a
          form or a survey, participate in a contest or promotion, make a purchase,
          communicate with us via social media sites, request customer support, or otherwise
          communicate with us. The information you may provide includes your name, email,
          password, street address, payment method information, goals, previous meditation
          experience, moods and reflections you provide during check-ins, feedback and
          survey responses, and other information about you included within your messages to
  Skip to main  content provided via the Services. Some users also provide health-related
          us or otherwise

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             information in connection with providing feedback or other messages to us, and we
             process that information consistent with the purpose for which it was provided.

             Other Information About Your Use of the Services

             When you use our Services, we collect the following information about you:

                     Usage Information: Whenever you use our Services, we collect usage
                     information, such as the sessions you use, videos you view or content you listen
                     to, what screens or features you access, and other similar types of usage
                     information.
                     Transactional Information: When you make a purchase or return, we collect
                     information about the transaction, such as product description, price,
                     subscription or free trial expiration date, and time and date of the transaction.
                     Log Information: We collect standard log files when you use our Services, which
                     include the type of web browser you use, app version, access times and dates,
                     pages viewed, your IP address, and the page you visited before navigating to
                     our websites.
                     Device Information: We collect information about the computer or mobile
                     device you use to access our Services, including the hardware model, operating
                     system and version, device identifiers set by your device operating system, and
                     mobile network information (like your connection type, carrier and region).
                     Information we Record: On some occasions, we may record phone or video
                     calls with your consent, such as in connection with our coaching program or
                     when you provide us with feedback or market research.
                     Information we Generate: We generate some information about you based on
                     other information we have collected. For example, like most platforms, we use
                     your IP address to derive the approximate location of your device. We also use
                     your first name to make an educated guess about your gender and use
                     information about your activity to help determine the likelihood of you
                     continuing to use our Services in the future (which we hope will be the case!).
                     Information Collected by Cookies and Similar Tracking Technologies: We use
                     diﬀerent technologies to collect information, including cookies and web
                     beacons. Please see our Cookie Policy for more details:
                     https://www.calm.com/cookies

             Information We Collect from Other Sources

          We also obtain information about you from other sources, including transaction
          information from third-party app stores you use to install our app or purchase a
  Skip to main contentand name and contact information from third-party calendar services.
          subscription,
          Additionally, if you create or log into your account through a social media service
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             account, we will have access to certain information from that account, such as your
             name and other account information, in accordance with the authorization
             procedures set by that social media service. Finally, we may obtain information about
             you from publicly available sources, marketing and advertising partners, consumer
             research platforms, and/or business contact databases.


             Use of Information
             We use the information we collect to:

                     Provide, maintain and improve our Services, including debugging to identify
                     and repair errors, and developing new products and services;
                     Process transactions and fulfill orders;
                     Send you transactional or relationship messages, such as receipts, account
                     notifications, customer service responses, and other administrative messages;
                     Communicate with you about products, services, and events oﬀered by Calm
                     and others, request feedback, and send news, gifts or other information we
                     think will be of interest to you (see the "Your Choices" section below for
                     information on how to opt out of marketing messages);
                     Monitor and analyze trends, usage, and activities in connection with our
                     Services;
                     Detect, investigate and prevent fraudulent transactions and other illegal
                     activities and protect the rights and property of Calm and others, including to
                     enforce our agreements and policies. If you feel your transaction was declined
                     in error, please contact us for assistance at support.calm.com;
                     Comply with the law, such as by processing transactional records for tax filings
                     and other compliance activities;
                     Personalize your online experience and the advertisements you see on other
                     platforms based on your preferences, interests, and browsing behavior; and
                     Facilitate contests, sweepstakes, and promotions and process and deliver
                     entries and rewards.

             Sharing of Information
             We share information about you as follows and as otherwise described in this Privacy
             Policy or at the time of collection:

               With companies and contractors that perform services for us, including email
               service providers, payment processors, fraud prevention vendors and other
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               contentproviders;


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                     In response to a request for information if we believe disclosure is in
                     accordance with, or required by, any applicable law or legal process, including
                     court order, subpoena, or other lawful requests by public authorities to meet
                     national security or law enforcement requirements;
                     If we believe your actions are inconsistent with our user agreements or policies,
                     if we believe you have violated the law, or to protect the rights, property, and
                     safety of Calm or others;
                     In connection with, or during negotiations of, any merger, sale of company
                     assets, financing or acquisition of all or a portion of our business by another
                     company;
                     Between and among Calm and our current and future parents, aﬃliates,
                     subsidiaries, and other companies under common control and ownership; and
                    With your consent or at your direction. For instance, you may choose to share
                    actions you take on our Services with third-party social media services via the
                    integrated tools we provide via our Services.
             We also share aggregated or other information not subject to obligations under the
             data protection laws of your jurisdiction with third parties. For example, we
             sometimes share aggregate information with research organizations to help facilitate
             their research.


             Advertising and Analytics Services Provided by Others
             We allow others to provide analytics services and serve advertisements on our behalf
             across the web and in mobile applications. These entities use cookies, web beacons,
             device identifiers and other technologies to collect information about your use of the
             Services and other websites and online services, including your IP address, device
             identifiers, web browser, mobile network information, pages viewed, time spent on
             pages or in apps, links clicked, and conversion information. This information may be
             used by Calm and others to, among other things, analyze and track data, determine
             the popularity of certain content, deliver advertising and content targeted to your
             interests on our Services and other websites and online services, and better
             understand your online activity. You can disable cookies used for advertising
             purposes through our cookie preferences manager. Or, for more information about
             interest-based ads, including to use ad industry tools to opt out of having your web
             browsing information used for behavioral advertising purposes, please visit
             www.aboutads.info/choices (if you are in the EU, please visit
             https://www.youronlinechoices.eu/). Your mobile device should also include a feature
             that allows you to opt out of having certain information collected through apps used
             for behavioral advertising purposes.
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             Data Transfer
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             Calm is based in the United States and processes information in the United States,
             which may not provide equivalent levels of data protection as your home jurisdiction.


             Your Choices
             Account Information

             You may update certain account information you provide to us (such as your
             password, name and email address) by logging into your account or contacting us
             through our Help Center at support@calm.com. If you wish to disable your account,
             please contact us at support@calm.com, but note that we retain certain information
             when required or permitted by law. We also retain cached or archived copies of
             information about you for a certain period of time.

             Promotional Communications

             You may opt out of receiving promotional emails from Calm by following the
             instructions in those emails or by logging into your account. If you opt out, we may
             still send you non-promotional emails, such as those about your account or our
             ongoing business relations.

             Mobile Push Notifications/Alerts

             With your consent, we send promotional and other push notifications to your mobile
             device. You can deactivate these messages at any time by changing the notification
             settings on your mobile device.

             Data Access and Deletion

             Subject to certain limits and conditions provided under law, we honor the exercise of
             the right of access or deletion for all of our users, regardless of their location. Any
             Calm user may exercise this right by contacting us at support@calm.com.


             Information for Individuals in Switzerland, UK and the
             EEA
             The sections below apply to you if you use our Services while in Switzerland, the
             United Kingdom or the European Economic Area (collectively, "Europe"). Calm.com,
             Inc. is the data controller for personal data governed by this Privacy Policy.

             Legal Basis for Processing
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          Whencontent
               we process your personal data we will only do so in the following situations:

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                     As necessary to perform our responsibilities under our contract with you (like
                     processing payments and providing the products or services you have
                     requested);
                     When we have a legitimate interest in processing your personal data, including
                     to communicate with you about changes to our Services, to help secure and
                     improve our Services (including to prevent fraud) and to analyze use of our
                     Services;
                     As necessary to comply with our legal obligations; and
                     When we have your consent to do so.

             Data Retention

             We retain personal data for no longer than is necessary for the purposes for which it
             is processed, unless applicable law requires storage for a longer period of time.

             Data Subject Requests

             Subject to certain limits and conditions provided under law, you have the following
             rights:

                     You have the right to access personal data we hold about you and to ask that
                     your personal data be corrected, erased, or made available in a portable form.
                     You also have the right to object to certain processing (like receiving direct
                     marketing), or request that we restrict processing in certain circumstances (like
                     to retain but not further process pending resolution of a claim).
                     When we ask for your consent, you may withdraw that consent at any time.
                     You have the right to file a complaint regarding our data protection practices
                     with a supervisory authority. Please see this directory for contact details:
                     https://edpb.europa.eu/about-edpb/board/members_en. If you are in
                     Switzerland, please visit this FDPIC site for contact details:
                     https://www.edoeb.admin.ch/edoeb/en/home/the-fdpic/contact.html. If you
                     are in the United Kingdom, please see this site for contact details:
                     https://ico.org.uk/global/contact-us/.
             If you would like to exercise any of these rights and can't do so directly via the
             Services or your device, you may contact us as indicated below.


             Information for California Residents
          This section provides additional disclosures required by the California Consumer
          Privacy Act (or "CCPA").
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             Please see the chart below for a list of the personal information we have collected
             about California consumers in the last 12 months, along with our business and
             commercial purposes and categories of third parties with whom this information may
             be shared. For more details about the personal information we collect, including the
             categories of sources, please see the "Collection of Information" section above.

             Categories of personal information we collect

             Identifiers , such as your name, phone number, email address, social media handle,
             and unique identifiers (like IP address) tied to your browser or device. Characteristics
             of protected classifications under state or federal law , such as gender and age.
             Commercial information , such as your payment information and Calm product or
             service purchases. Approximate geolocation data. Internet or other electronic
             network activity, such as browsing behavior and information about your usage and
             interactions with our Services. Audio, electronic, visual, or similar information , such
             as profile photo or personal information you may provide during customer support
             calls and call recordings. Professional, employment, and education information,
             such as information we collect about teachers and other administrators in connection
             with Calm Schools Initiative or CalmHealth Initiative. Other personal information you
             provide , including opinions, preferences, goals and previous meditation experience
             and other personal information contained in product reviews, surveys, or
             communications. Inferences drawn from the above, such as product interests, and
             purchasing insights.

             Business or commercial purposes for which we may use your information

             Performing or providing our services, such as to maintain accounts, provide
             customer service, process orders and transactions, and verify customer information.
             Improving and maintaining our Services, such asby improving our Services and
             developing new products and services. Debugging , such asto identify and repair
             errors and other functionality issues. Communicate with you about marketing and
             other relationship or transactional messages. Analyze usage , such as by monitoring
             trends and activities in connection with use of our Services. Personalize your online
             experience , such as by tailoring the content and ads you see on our Services and on
             other platforms based on your preferences, interests, and browsing behavior. Legal
             reasons, such as to helpdetect and protect against security incidents, or other
             malicious, deceptive, fraudulent, or illegal activity.

             Parties with whom information may be shared

          Companies that provide services to us , such as those that assist us with customer
          support, subscription and order fulfillment, advertising measurement,
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          communications   and surveys, data analytics, fraud prevention, cloud storage, bug fix

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             management and logging, and payment processing. Third parties with whom you
             consent to sharing your information , such as with social media services or academic
             researchers. Our advertisers and marketing partners, such as partners that help
             determine the popularity of content, deliver advertising and content targeted to your
             interests, and assist in better understanding your online activity. Government entities
             or other third parties for legal reasons, such as to comply with law or for other legal
             reasons as described in our Sharing section.

             Subject to certain limitations and exceptions, the CCPA provides California
             consumers the right to request to know more details about the categories and
             specific pieces of personal information, to delete their personal information, to opt
             out of any "sales" that may be occurring, and to not be discriminated against for
             exercising these rights.

             We do not "sell" the personal information we collect (and will not sell it in the future
             without providing a right to opt out). We do allow our advertising partners to collect
             certain device identifiers and electronic network activity via our Services to show ads
             that are targeted to your interests on other platforms. To opt out, you can use our
             cookie preferences tool to disable ad trackers on our website and can adjust your
             mobile device settings to limit ad tracking via the mobile app.

             California consumers may make a rights request by emailing us at
             support@calm.com or by submitting the request on our website at calm.com/contact
             (click on the box that says "Ask a question" and type your request into the pop-up
             window). We will verify your request by asking you to provide information that
             matches information we have on file about you. Consumers can also designate an
             authorized agent to exercise these rights on their behalf. Authorized agents should
             submit requests through the same channels, but we will require proof that the person
             is authorized to act on your behalf and may also still ask you to verify your identity
             with us directly.

             Notice of Financial Incentives: We oﬀer various financial incentives. For example, we
             may provide incentives to customers who participate in a survey or provide
             testimonials. When you participate in a financial incentive, we collect personal
             information from you, such as identifiers (like your name and email address) and
             information about your experiences using our Services. You can opt into a financial
             incentive by following the sign-up or participation instructions provided. In some
             cases, we may provide additional terms and conditions for a financial incentive,
             which we will provide to you when you sign up. The value of your personal
             information is reasonably related to the value of the oﬀer or discount presented to
             you.

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          Calm content
               strives to make this privacy policy accessible in line with the World Wide Web
             Consortium's Web Content Accessibility Guidelines, version 2.1.
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             Contact Us
             If you have any questions about this Privacy Policy, please contact us at:
             support@calm.com

             If you are in Europe, you may also contact our representative at:

                     EEA : The DPO Centre Europe Ltd, Alexandra House, 3 Ballsbridge Park,
                     Dublin, D04C 7H2 - (+353 1 631 9460) (EURep@calm.com).

                     UK : The DPO Centre 50 Liverpool Street London, EC2M 7PY - (+44 (0) 203 797
                     1289) (ukrep@calm.com).




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